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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                             VALDOSTA DIVISION

UNITED STATES OF AMERICA,                   :
                                            :
v.                                          :
                                            :       Case No.: 7:21-CR-00031 (WLS-TQL)
                                            :
BENJAMIN CHANDLER KEENE,                    :
                                            :
       Defendant.                           :
                                            :


                                           ORDER
       Before the Court is an “Unopposed Motion for Continuance in the Interest of Justice”
filed by Defendant Benjamin Keene on August 12, 2021. (Doc. 22.) Therein, Defendant Keene
requests that the Court continue his case to the February 2022 trial term and to reschedule the
pretrial conference set Wednesday, August 25, 2021. (Id.) Defendant Keene submits that he
received discovery on July 14, 2021, and that his case should be continued because his “counsel
needs additional time to investigate, research and discuss the government’s case in chief” with
him. (Id. at 2.) Defendant states that the Government does not oppose the motion. (Id.)
       The Speedy Trial Act permits a district court to grant a continuance of the trial so long
as the court makes findings that the ends of justice served by ordering a continuance outweigh
the best interest of the public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A).
Section 3161(h)(7)(B) provides a number of factors the Court must consider when granting a
continuance. United States v. Ammar, 842 F.3d 1203, 1206 (11th Cir. 2016). Among those factors
are the likelihood that the lack of a continuance will result in a miscarriage of justice and the
likelihood that failure to grant a continuance would deprive the defendant continuity of
counsel or reasonable time necessary for effective preparation. 18 U.S.C. § 3161(h)(7)(B).
       The Court finds that the failure to grant a continuance would likely result in a
miscarriage of justice, see 18 U.S.C. § 3161(h)(7)(B)(i), and would likely deny the Defendant’s
counsel the reasonable time necessary for effective preparation, taking into account the
exercise of due diligence, see 18 U.S.C. § 3161(h)(7)(B)(iv). Accordingly, the Court finds that

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the ends of justice served by continuing trial outweigh the best interest of the public and the
Defendant’s in a speedy trial. 18 U.S.C. § 3161(h)(7)(A).
       Based on the above-stated reasons, the Court finds good cause to grant a continuance.
Therefore, the Unopposed Motion for a Continuance (Doc. 22) is GRANTED. The Court
finds that failure to grant the requested continuance would deny Defendant continuity of
counsel and necessary preparations for trial, even assuming due diligence, and would likely
result in a miscarriage of justice. It is ORDERED that the case is CONTINUED to the
November 2021 trial term in Valdosta, Georgia, which begins November 8, 2021, unless
otherwise ordered by the Court. The Court further ORDERS that the time from the date of
this Order to the conclusion of the November 2021 Trial Term is EXCLUDED FROM
COMPUTATION under the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7). The
pretrial conference currently set for August 25, 2021 is CONTINUED and shall be
RESCHEDULED for the November 2021 trial term in the Valdosta division of this Court
and will be noticed by separate order of the Court.


       SO ORDERED, this 20th day of August 2021.

                                           /s/ W. Louis Sands
                                           W. LOUIS SANDS, SR. JUDGE
                                           UNITED STATES DISTRICT COURT




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